
693 S.E.2d 918 (2010)
Sheryl BOYLAN, Employee, Plaintiff
v.
VERIZON WIRELESS, Employer, Sedgwick CMS, Carrier, Defendants.
No. 498P09.
Supreme Court of North Carolina.
March 11, 2010.
Vachelle Willis, Raleigh, for Verizon Wireless, et al.
Heather Hodgman Jahnes, for Sheryl Boylan.
Prior report: ___ N.C.App. ___, 685 S.E.2d 155.

ORDER
Upon consideration of the petition filed by Defendants on the 22nd of December 2009 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th of March 2010."
Upon consideration of the petition filed on the 22nd of December 2009 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th of March 2010."
